Exhibit J
From: "Choe, Shiwon (USACAN)" <Shiwon.Choe@usdoj.gov>
Date: Monday, August 3, 2020 at 3:48 PM
To: "Maclean, Emilou (PDR)" <emilou.maclean@sfgov.org>, "Coleman, Susan E."
<SColeman@bwslaw.com>, "Beier, Genna (PDR)" <genna.beier@sfgov.org>, "Zack, Adrienne
(USACAN)" <Adrienne.Zack@usdoj.gov>, "Garbers, Wendy (USACAN)"
<Wendy.Garbers@usdoj.gov>
Cc: Bill Freeman <wfreeman@aclunc.org>, "Schenker, Marty" <mschenker@cooley.com>,
Angelica Salceda <asalceda@aclunc.org>, Bree Bernwanger <bbernwanger@lccrsf.org>, Judah
Lakin <judah@lakinwille.com>, Amalia Wille <amalia@lakinwille.com>, Sean Riordan
<SRiordan@aclunc.org>
Subject: RE: [Zepeda Rivas] Urgent update re: COVID-19 at Mesa Verde

Dear Emi:

As of now, we have received word that five detainees in Dorm B who were tested on July 30 had results
come back that were positive for COVID-19. If we receive more test results today, we will let you
know. Dorms B and C currently remain cohorted.

Best regards,
Shiwon


From: Maclean, Emilou (PDR) <emilou.maclean@sfgov.org>
Sent: Monday, August 03, 2020 1:56 PM
To: Choe, Shiwon (USACAN) <SChoe@usa.doj.gov>; Coleman, Susan E. <SColeman@bwslaw.com>;
Beier, Genna (PDR) <genna.beier@sfgov.org>; Zack, Adrienne (USACAN) <AZack1@usa.doj.gov>;
Garbers, Wendy (USACAN) <wgarbers@usa.doj.gov>
Cc: Bill Freeman <wfreeman@aclunc.org>; Schenker, Marty <mschenker@cooley.com>; Angelica
Salceda <asalceda@aclunc.org>; Bree Bernwanger <bbernwanger@lccrsf.org>; Judah Lakin
<judah@lakinwille.com>; Amalia Wille <amalia@lakinwille.com>; Sean Riordan <SRiordan@aclunc.org>
Subject: Re: [Zepeda Rivas] Urgent update re: COVID-19 at Mesa Verde

Dear Counsel:

We have received information from class members that there are additional COVID-19 positive results at
Mesa Verde but insufficient space to segregate any further individuals who test positive.

Please notify us by 4 pm today if (a) you have received results from the recent COVID tests, and if so, the
results of those tests; and (b) the plans for segregating anyone who tests positive given the
acknowledged shortage of space.

Thank you,

Emi
From: "Choe, Shiwon (USACAN)" <Shiwon.Choe@usdoj.gov>
Date: Monday, August 3, 2020 at 10:08 AM
To: "Coleman, Susan E." <SColeman@bwslaw.com>, "Beier, Genna (PDR)"
<genna.beier@sfgov.org>, "Zack, Adrienne (USACAN)" <Adrienne.Zack@usdoj.gov>, "Garbers,
Wendy (USACAN)" <Wendy.Garbers@usdoj.gov>
Cc: Bill Freeman <wfreeman@aclunc.org>, "Schenker, Marty" <mschenker@cooley.com>,
"Maclean, Emilou (PDR)" <emilou.maclean@sfgov.org>, Angelica Salceda
<asalceda@aclunc.org>, Bree Bernwanger <bbernwanger@lccrsf.org>, Judah Lakin
<judah@lakinwille.com>, Amalia Wille <amalia@lakinwille.com>, Sean Riordan
<SRiordan@aclunc.org>
Subject: RE: [Zepeda Rivas] Urgent update re: COVID-19 at Mesa Verde

Dear counsel,

We understand that ICE has requested that GEO offer COVID-19 testing to all detainees in Dorm
C. Regarding your question about rapid testing, our understanding is that Mesa Verde does not have
enough rapid testing available to test all detainees. We are working to get further information.

Best regards,
Shiwon


From: Coleman, Susan E. <SColeman@bwslaw.com>
Sent: Sunday, August 02, 2020 4:37 PM
To: Beier, Genna (PDR) <genna.beier@sfgov.org>; Zack, Adrienne (USACAN) <AZack1@usa.doj.gov>;
Garbers, Wendy (USACAN) <wgarbers@usa.doj.gov>; Choe, Shiwon (USACAN) <SChoe@usa.doj.gov>
Cc: Bill Freeman <wfreeman@aclunc.org>; Schenker, Marty <mschenker@cooley.com>; Maclean,
Emilou (PDR) <emilou.maclean@sfgov.org>; Angelica Salceda <asalceda@aclunc.org>; Bree Bernwanger
<bbernwanger@lccrsf.org>; Judah Lakin <judah@lakinwille.com>; Amalia Wille
<amalia@lakinwille.com>; Sean Riordan <SRiordan@aclunc.org>
Subject: RE: [Zepeda Rivas] Urgent update re: COVID-19 at Mesa Verde

I don’t have any of the other information you requested.

As for information given to detainees, as Warden Allen testified, they are not informed about who
tested positive, but only that they may have been exposed. Why would they be entitled to know the
names of people who have tested positive, which is protected by HIPPAA?

 Susan E. Coleman | Partner
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ABOVE AT 800.333.4297. Thank you.



From: Beier, Genna (PDR) [mailto:genna.beier@sfgov.org]
Sent: Sunday, August 2, 2020 4:22 PM
To: Coleman, Susan E.; Zack, Adrienne (USACAN); Garbers, Wendy (USACAN); Choe, Shiwon (USACAN)
Cc: Bill Freeman; Schenker, Marty; Maclean, Emilou (PDR); Angelica Salceda; Bree Bernwanger; Judah
Lakin; Amalia Wille; Sean Riordan
Subject: Re: [Zepeda Rivas] Urgent update re: COVID-19 at Mesa Verde

[EXTERNAL]

Thank you for the information. However, this does not obviate the need for Defendants to answer our
questions and take the actions we identified, which relate to the safety of all class members and staff at
Mesa Verde. We ask that you respond in full by tomorrow at 10 am.

From: "Coleman, Susan E." <SColeman@bwslaw.com>
Date: Sunday, August 2, 2020 at 1:37 PM
To: "Beier, Genna (PDR)" <genna.beier@sfgov.org>, "Zack, Adrienne (USACAN)"
<Adrienne.Zack@usdoj.gov>, "Garbers, Wendy (USACAN)" <Wendy.Garbers@usdoj.gov>,
"Choe, Shiwon (USACAN)" <Shiwon.Choe@usdoj.gov>
Cc: Bill Freeman <wfreeman@aclunc.org>, "Schenker, Marty" <mschenker@cooley.com>,
"Maclean, Emilou (PDR)" <emilou.maclean@sfgov.org>, Angelica Salceda
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<judah@lakinwille.com>, Amalia Wille <amalia@lakinwille.com>, Sean Riordan
<SRiordan@aclunc.org>
Subject: RE: [Zepeda Rivas] Urgent update re: COVID-19 at Mesa Verde

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Mr. Yao Saeturn was released to his family and is no longer in custody.

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ABOVE AT 800.333.4297. Thank you.



From: Beier, Genna (PDR) [mailto:genna.beier@sfgov.org]
Sent: Saturday, August 1, 2020 5:06 PM
To: Zack, Adrienne (USACAN); Garbers, Wendy (USACAN); Choe, Shiwon (USACAN); Coleman, Susan E.
Cc: Bill Freeman; Schenker, Marty; Maclean, Emilou (PDR); Angelica Salceda; Bree Bernwanger; Judah
Lakin; Amalia Wille; Sean Riordan
Subject: [Zepeda Rivas] Urgent update re: COVID-19 at Mesa Verde

[EXTERNAL]


Dear Counsel,

We learned this morning that a medically vulnerable, 65 year-old class member detained in
Dorm C, Mr. Yao Saeturn, tested positive for COVID-19, and has now been hospitalized. Mr.
Saeturn is 65 years old, suffers from hypertension, high cholesterol, and ulcers, and has
mobility impairments. See Dkt. 128-2. We understand that Mr. Saeturn had been exhibiting
symptoms of COVID-19 for an extended period of time before he was taken to the medical unit.
Despite requests for medical attention, we understand he was not taken to the medical unit
until yesterday. We understand that he and other class members in Dorm C were informed of
the positive test last night. If these accounts are correct, Mr. Saeturn is the fourth class member
who has tested positive for the virus.

We write to ask for further information regarding Mr. Saeturn’s status, and about the risks to
other class members. As Defendants may be aware, Kern County has recently experienced a
critical shortage of hospital beds for COVID-19 patients; avoiding further transmission is not
only imperative to the health and well-being of class members in Defendants’ custody, but to
the community at large. As of Thursday, local news reports noted there were only two ICU beds
open in Kern County.

We further call on Defendants to take immediate action to protect all class members from what
could be the beginning of a COVID-19 outbreak at Mesa Verde. Plaintiffs hope that Defendants
will act with the urgency this life-or-death scenario demands.

Requests for information
   • Can you confirm that Mr. Saeturn tested positive for coronavirus? What symptoms is he
      experiencing? Where is he currently being held? What medical treatment is being
      provided to him? Can you facilitate communication between Mr. Saeturn and his
      attorneys, Lisa Knox and Susan Beaty?
   •   Warden Allen confirmed that detainees had been transferred from Dorm B to Dorms C
       and D. We understand that at least one individual was transferred from Dorm B to Dorm
       A. Can you confirm that transfers have also taken place from Dorm B to Dorm A? Please
       name all individuals transferred between dorms in the past 14 days.
   •   Class members have reported having no or little information about positive tests of
       either staff or detainees. What information have class members been provided
       regarding the positive tests of both detainees and staff at Mesa Verde?
   •   Plaintiffs have thus far been provided no information about contact tracing of staff.
       Please provide details about whether infected staff have had contact or close contact
       with other staff, and whether those staff contacts have been tested.
   •   Have the individuals in Dorms B and C been offered rapid testing? Have any staff?
   •   What is the capacity of local Kern County hospitals to absorb Mesa Verde detainees
       suffering from complications of COVID-19?

Actions to Protect Class Members (as well as staff and the surrounding community)
    • Plaintiffs ask that Defendants promptly offer rapid testing to all detainees AND
       GEO/WellPath staff to gauge the scope of any outbreak. While confirmatory tests sent
       to a laboratory are welcome, 4-7 days for results is an unacceptable delay in light of the
       risks of transmission in congregate settings.
    • Provide immediate access to class counsel if any class member expresses reluctance to
       be tested, prior to classifying an individual as a refuser.
    • Plaintiffs further ask that Defendants release class members, such as Mr. Saeturn, who
       have medical vulnerabilities that place them at high risk of suffering severe outcomes or
       death if they contract COVID-19. Concerns regarding flight risk can be ameliorated with
       alternatives to detention or home-arrest like conditions.
    • Plaintiffs request that Defendants cease any new intakes into the facility until universal
       periodic testing has been implemented and there is available space for COVID-infected
       class members.

In light of the seriousness of this situation, we believe that Defendants should take the
necessary actions immediately, and we request that Defendants respond to us no later than
10:00 a.m. Monday, August 3, providing the information requested and informing us of what
actions have been taken. We intend to file a supplemental CMC statement on Monday
afternoon outlining the information we have learned and Defendants’ response to this
communication. We hope that the parties can agree in principle that Defendants must do
everything within their capacity to respond to this - the looming threat of an outbreak.

Thank you,

Genna
She/Her/Ella
Deputy Public Defender
San Francisco Office of the Public Defender
